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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION


JAMES R. HODGES                                                                         PLAINTIFF

VS.                                  Civil No. 4:15-CV-4076

ROYAL EXPRESS, et al.                                                               DEFENDANTS

                                           JUDGMENT
       The above styled and numbered cause was scheduled for trial on January 22, 2018. Counsel
has advised the court that all claims have been settled. It appearing to the Court that it is not
necessary that this cause remain upon the court's docket;
       IT IS THEREFORE CONSIDERED, ORDERED AND ADJUDGED that the above styled
cause be, and is hereby, dismissed subject to the terms of this settlement agreement; and
       IT IS FURTHER ORDERED that if any party desires that the terms of settlement be a part
of the record herein, those terms should be reduced to writing and filed with the court within thirty
(30) days of the entry of this Judgment.
       The court retains jurisdiction to vacate this order and to reopen this action upon cause shown
that the settlement has not been completed and further litigation is necessary.
       Dated this 11th day of October, 2017.




                                              /s/ Susan O. Hickey
                                              SUSAN O. HICKEY
                                              U.S. DISTRICT JUDGE
